Edward J. Maney, Trustee, Bar #12256
101 N. First Avenue, Suite 1775
Phoenix, Arizona 85003
Telephone (602) 277-3776
ejm@maney13trustee.com

                                    IN THE UNITED STATES BANKRUPTCY COURT
                                          FOR THE DISTRICT OF ARIZONA

In re:                                                        )    In Proceedings Under Chapter 13
                                                              )
WILLIAM R ATCHISON                                            )    Case No. 2:15-08281-GBN
                                                              )
JAMIE S ATCHISON                                              )
                                                              )    TRUSTEE’S MOTION TO DISMISS
__________________________Debtor (s)________                  )

COMES NOW Edward J. Maney, Trustee in the above-captioned Chapter 13 Proceeding and
states that the debtor(s) is/are in default under the terms of their Chapter 13 Plan. Plan payments
are 3+ months delinquent and no showing has been made of any just cause for the default.

                Total delinquency as of this date:         $1,037.00
                The next scheduled payment is due:         July 30, 2017

The Trustee will lodge an order dismissing this case if the debtor(s) fail to meet one of the following
requirements:

    1. All Plan payments must be current by August 18, 2017. Including any payment that come due within the
       guidelines of this Motion to Dismiss
    2. The debtor(s) file a Notice of Conversion to a Chapter 7 with the Court and serve a copy
       on the Trustee.
    3. The debtor(s) file a Motion for a Moratorium of Plan Payments with the Court and serve a
       copy on the Trustee.

Dated: [see electronic signature]
                                         Edward J.                    Digitally signed by
                                                                  Edward J. Maney, Esq.

                                         Maney,       Esq.        Date: 2017.07.21 13:26:30
                                          ____________________________________
                                                                  -07'00'
                                               Edward J. Maney, Trustee

CERTIFICATE OF MAILING FOR CASE NO. 15-08281
Copies of the foregoing mailed (see electronic signature below) to the following:

Casey K. Yontz, Esq.
4856 E. Baseline Road
Suite #104
Mesa, AZ 85206-
Attorney for Debtor

WILLIAM R ATCHISON
2255 E. 28TH AVE.
APACHE JUNCTION, AZ 85119
Debtor

JAMIE S ATCHISON
2255 E. 28TH AVE.
APACHE JUNCTION, AZ 85119
Co-Debtor                                Jackie Digitally        signed
                                                        by Jackie Garcia

                                         Garcia Date:         2017.07.24
                                                        10:16:17 -07'00'
                                         _________________________
                                            Trustee's Clerk




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